                        Case 2:20-cv-04997-AB Document 22 Filed 01/06/22 Page 1 of 2




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                                                 January 6, 2022
            Via E-Filing
            The Honorable Anita B. Brody
            United States District Court
            Eastern District of Pennsylvania
            U.S. Courthouse, Independence Mall West
            601 Market Street
            Philadelphia, PA 19106-1797

                    Re:      Dianne Cochran v. ULTA Salon, Cosmetics & Fragrance, Inc.
                             USDC Eastern District of PA – Civil Action No. 20-4997


            Dear Judge Brody:

                   We are writing on behalf of Defendant, ULTA Salon, Cosmetics, and Fragrance, Inc.
            (“Ulta”), in the above captioned matter to request that the Arbitration hearing currently
            scheduled for January 20, 2022 be continued by 120 days. Plaintiff’s Counsel concurs with this
            request.

                    Both ULTA and Plaintiff respectfully request additional time to complete their
            investigations and discovery. Specifically, we recently received Plaintiff’s discovery responses
            on 12/13/21, following the entry of an Order, identifying various treating providers. ULTA
            requests the opportunity to obtain a complete set of Plaintiff’s medical records in light of the
            injuries claimed and the disclosures made in her discovery responses. Additionally, depositions
            of both parties are outstanding. Please note that Plaintiff’s Counsel has disclosed that Plaintiff
            had COVID, which delayed scheduling of depositions. Plaintiff’s Counsel also reported that he is
            presently trying to determine which of Plaintiff’s injuries are related to the incident at issue and
            requests additional time to do so. Moreover, undersigned counsel for ULTA is presently attached
            for trial in Larson, et al. v. J&K Quality Restaurants, LLC before the Superior Court of New
            Jersey Law Division – Middlesex County starting January 31, 2022. Admittedly, this is our
            second request for a continuance. We previously requested a continuance of the Arbitration
            Hearing scheduled for November 23, 2021, because undersigned counsel was attached for a two
            week trial starting on November 19, 2021, before the Philadelphia Court of Common Pleas.




CONNECTICUT | DISTRICT OF COLUMBIA | FLORIDA | MARYLAND | MASSACHUSETTS | NEW JERSEY | NEW YORK | PENNSYLVANIA | RHODE ISLAND | VIRGINIA
                Case 2:20-cv-04997-AB Document 22 Filed 01/06/22 Page 2 of 2

The Honorable Anita B. Brody
January 6, 2022
Page 2
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              For the reasons stated herein, both parties jointly request a continuance of the Arbitration
      hearing by 120 days. Thank you for your consideration.


                                                           Respectfully submitted,


                                                           SARAH M. BAKER


      cc:    Todd M. Sailer, Esquire (Via ECF)
